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11                                 UNITED STATES DISTRICT COURT
12                                      DISTRICT OF NEVADA

13    CANA FOUNDATION, a non-profit
      corporation, LAURA LEIGH, individually,
14
      and WILD HORSE EDUCATION, a non-
15    profit corporation,
                                                     CASE NO. 2:22-cv-01200-CDS-BNW
16                       Plaintiffs,
                                                     NOTICE OF MOTION AND MOTION
17                           v.                      TO COMPLETE AND SUPPLEMENT
                                                     THE ADMINISTRATIVE RECORD
18    UNITED STATES DEPARTMENT OF
      INTERIOR, BUREAU OF LAND
19    MANAGEMENT, and JON RABY, Nevada
      State Director of the Bureau of Land
20    Management,
21                      Defendants.
22

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 1           Plaintiffs CANA Foundation, Laura Leigh, individually, and Wild Horse Education, by

 2    and through their counsel, respectfully move the Court for an order directing Defendants United

 3    States Department of Interior, Bureau of Land Management, and Jon Raby, Nevada State Director

      of the Bureau of Land Management to complete and supplement the administrative record.
 4
             This Motion is based upon the Plaintiffs’ Memorandum of Points and Authorities, as well
 5
      as any oral argument the court may entertain, and any other papers and pleadings in this action.
 6

 7
      DATED: March 16, 2023,                       Respectfully Submitted,
 8

 9                                                 /s/ Jessica L. Blome
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 1                                Memorandum of Points and Authorities
      I.     Background
 2
             Between August 1, 2022 and August 12, 2022, the Bureau of Land Management (“BLM”)
 3
      gathered and removed 804 wild burros and 218 wild horses from the Blue Wing Complex of Herd
 4
      Management Areas, located in Nevada (hereinafter the “2022 Gather”). The animals were gathered
 5
      by helicopters and of the 1,022 gathered, 14 were killed as a result of the 2022 Gather and the
 6
      remaining 1,008 were shipped to off-range holding corrals to be prepared for BLM’s adoption and
 7
      sales program or to live at long-term holding facilities.
 8
             The 2022 Gather was conducted pursuant to the Blue Wing Complex Gather Plan Final
 9    Environmental Assessment, DOI-BLM-NV-W010-2015-0034-EA, and its associated Finding of
10    No Significant Impact and Decision Record (“2017 Gather-EA”), which was finalized in 2017 and
11    authorizes phased gathers over a period of twenty years to maintain a wild horse population within

12    the Appropriate Management Levels for the Blue Wing Complex. The BLM has never prepared a

13    Herd Management Area Plan (“HMAP”) for the Blue Wing Complex, as required by the Wild

14    Free-Roaming Horses and Burros Act (“Wild Horse Act”). An HMAP is a critical planning

      document for federal lands because, through a public process, it establishes long-term management
15
      objectives for individual herds of wild horses and burros and their specific habitats.
16
             During the 2022 Gather, BLM denied meaningful public access to observe the gather
17
      operations and to obverse the animals in temporary holding corrals. BLM shipped all of the wild
18
      burros to an off-range holding corral that was closed to the public. Plaintiffs and the public were
19
      denied any meaningful access to view or document a single burro during capture or in holding.
20
             Plaintiffs’ First Amended Complaint alleges six causes of action:
21
             1. Writ of Mandamus, 28 U.S.C. § 1361: seeking a writ of prohibition preventing
22               Defendants from further gathering wild horses and burros under the 2017 Gather-EA
23               until Defendants have fully complied with the Wild Horse Act by first preparing an
24               HMAP;

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 1           2. Administrative Procedure Act (“APA”), 5 U.S.C. § 706(1): seeking an order

 2                compelling the BLM to prepare an HMAP for the Blue Wing Complex, as the BLM

 3                does not have discretion to ignore its mandatory duty to prepare an HMAP prior to the

                  removal of wild horses and burros from the range;
 4
             3. APA, 5 U.S.C. § 706(2)(A): alleging that Defendants’ decision to conduct the 2022
 5
                  Gather without first preparing an HMAP for the Blue Wing Complex was arbitrary,
 6
                  capricious, an abuse of discretion, and contrary to the law;
 7
             4. APA, 5 U.S.C. § 706(2)(C): alleging that Defendants exceeded their statutory
 8
                  jurisdiction and authority, as well as their own regulatory limitations, when they
 9
                  conducted the 2022 Gather without first preparing an HMAP for the Blue Wing
10
                  Complex;
11           5. National Environmental Policy Act, 5 U.S.C. § 706(2): alleging that Defendants’
12                decision to conduct the 2022 Gather without analyzing significant environmental
13                impacts during the 2017 Gather-EA process and adopting the 2017 Gather-EA was

14                arbitrary and capricious, an abuse of discretion, and contrary to the law; and

15           6. First Amendment of the U.S. Constitution: alleging that Defendants interfered with

16                Plaintiffs’ protected right to access wild horse gathers under the First Amendment and

17                this Court’s prior precedent by refusing them access to certain aspects of the gather and

                  holding operations. See Leigh v. Salazar, 954 F. Supp. 2d 1090, 1100-01 (D. Nev.
18
                  2013) (finding a qualified right to view wild horse gathers).
19
      See ECF No. 24, First Amended Complaint (“Am. Compl.”). Completion and supplementation of
20
      the administrative record is absolutely necessary in order for Plaintiffs to fairly adjudicate their six
21
      causes of action.
22
      II.    Legal Standard
23
             Judicial review of agency action under the Administrative Procedure Act (“APA”) is
24    generally based on the administrative record that was before the agency at the time of its challenged
25    action. Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). The
26

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 1    administrative record “consists of all documents and materials directly or indirectly considered by

 2    agency decisionmakers and includes evidence contrary to the agency's position.” W. Watersheds

 3    Project v. BLM, No. 3:11-cv-00053-HDM-VPC, 2012 U.S. Dist. LEXIS 1068, at *2-3 (D. Nev.

      Jan. 4, 2012) (quoting Exxon Corp. v. Dep't of Energy, 91 F.R.D. 26, 33 (N.D. Tex. 1981)). The
 4
      whole record includes all materials and documents considered by the agency, regardless of the
 5
      deliberative nature, and any withheld documents must be asserted in a privilege log. Bartell Ranch
 6
      LLC v. McCullough, No. 3:21-cv-00080-MMD-CLB, 2021 U.S. Dist. LEXIS 245622, at *6-8 (D.
 7
      Nev. Dec. 27, 2021).
 8
             The Ninth Circuit has recognized exceptions to the general rule limiting reviewing courts
 9
      to the administrative record in all APA cases, including “(1) if admission is necessary to determine
10
      whether the agency has considered all relevant factors and has explained its decision, (2) if the
11    agency has relied on documents not in the record, (3) when supplementing the record is necessary
12    to explain technical terms or complex subject matter, or (4) when plaintiffs make a showing of
13    agency bad faith.” Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir. 2005) (internal

14    quotations omitted).

15           The Ninth Circuit has also held that failure to act claims brought under 5 U.S.C. § 706(1)

16    and non-APA claims are not limited to judicial review of the administrative record. See San

17    Francisco BayKeeper v. Whitman, 297 F.3d 877, 886 (9th Cir. 2002) (review of a failure to act

      claim is not limited to the record); see also W. Watersheds Project v. Kraayenbrink, 632 F.3d. 472,
18
      497 (9th Cir. 2011) (courts may consider extra-record evidence in support of the non-APA claims
19
      in a case that alleges both APA violations and non-APA violations).
20
      III.   Argument
21
             Plaintiffs allege that administrative record is incomplete because there are deliberative
22
      materials that were considered by BLM in making its decision to conduct the 2022 Gather without
23
      first preparing an HMAP for the Blue Wing Complex that are not currently included in the record.
24    Plaintiffs also allege that the administrative record needs to be supplemented with evidence of the
25

26

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 1    BLM’s legislative history and past policies and practices regarding HMAP preparations and

 2    Plaintiffs’ First Amendment violation claim.

 3              A.     Defendants must complete the administrative record with deliberative
                       materials.
 4              The administrative record “is not necessarily those documents that the agency has
 5    compiled and submitted as ‘the’ administrative record.” Thompson v. United States Dep't of Labor,
 6    885 F.2d 551, 555 (9th Cir. 1989) (quoting Exxon Corp., 91 F.R.D. at 32) (emphasis in original).
 7    The whole administrative record “consists of all documents and materials directly

 8    or indirectly considered by agency decision-makers and includes evidence contrary to the agency's

 9    position.” Id. (internal quotations omitted); see also Animal Defense Council v. Hodel, 840 F.2d

10    1432, 1436 (9th Cir. 1988), corrected, 867 F.2d 1244 (1989).

                Defendants must add to the administrative record all deliberative materials—including, but
11
      not limited to, communications between agency employees and officials and draft documents—as
12
      such materials are properly considered part of the record. Bartell Ranch LLC v. McCullough, No.
13
      3:21-cv-00080-MMD-CLB, 2021 U.S. Dist. LEXIS 245622, at *6-8 (D. Nev. Dec. 27, 2021). The
14
      currently deficient administrative record omits deliberative materials, including internal agency
15
      communications and directives related to HMAP preparation, apart from one internal email.
16
      Plaintiffs’ counsel sent Defendants a letter via email on July 18, 2022, before the 2022 Gather
17
      began, explaining Defendants’ legal duty to prepare an HMAP and a new or supplemental
18    environmental assessment. Though the letter is included in the administrative record (AR03840-
19    53), the email correspondences nor any internal deliberative materials where the BLM discussed
20    its decision to continue with the 2022 Gather despite these legal duties are not included in the

21    record.

22              Plaintiffs are also aware of prior agency directives and correspondence with Congress

23    addressing the very question of whether the Wild Horse Act requires the preparation of an HMAP.

      These materials are highly relevant since “an agency changing its course must supply a reasoned
24
      analysis[.]” Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 57 (1983)
25
      (internal quotations omitted). For example, on information and belief, former Nevada State
26

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 1    Director Amy Lueders issued a directive regarding the preparation of HMAPs in Nevada in 2015

 2    or 2016, which was then rescinded in 2017. If this prior state directive, or its recission, were relied

 3    on by the BLM in deciding to conduct the 2022 Gather without an HMAP for the Blue Wing

      Complex, then the materials are properly within the administrative record and need to be added in
 4
      order to complete the record.1
 5
             Deliberative materials are critical to Plaintiffs’ claim that Defendants’ decision to conduct
 6
      the 2022 Gather without first preparing an HMAP and a proper environmental assessment was
 7
      arbitrary and capricious. These deliberative and internal materials are necessary to determine if
 8
      Defendants improperly “relied on factors which Congress has not intended it to consider.” Motor
 9
      Vehicle Mfrs. Ass'n, 463 U.S. at 43. Indeed, the Ninth Circuit in Earth Island Institute v. Hogarth
10
      relied on various internal materials to find that the challenged policy was the result of improper
11    political and foreign affairs concerns—“factors Congress had not intended it to consider”—and
12    therefore arbitrary and capricious. Earth Island Inst. v. Hogarth, 484 F.3d 1123, 1129, 1134-35
13    (2007). Those materials included: (1) an internal memorandum and briefing materials; (2) various

14    internal communications; and (3) changing drafts of internal memoranda. Id.; see also Native Vill.

15    of Point Hope v. Jewell, 740 F.3d 489, 503–05 (9th Cir. 2014) (relying on internal emails to

16    invalidate an environmental assessment as arbitrary and capricious).

17           Defendants must complete the record and add all internal communications, including

      deliberative materials and agency directives, explaining the agency’s decision to conduct the 2022
18
      Gather without first preparing an HMAP or a proper environmental assessment for the Blue Wing
19
      Complex.
20
             At the time of filing this motion, Defendants have not produced a privilege log, nor have
21
      they claimed to have withheld any records. If Defendants purport to omit any records—including
22
      deliberative materials—from the administrative record, Plaintiffs respectfully request an order
23

24
      1
       Even if the BLM claims that these materials were not directly or indirectly considered, the
25    materials speak to the agency’s pattern and practice of preparing HMAPs under the Wild Horse
      Act and need to be supplemented into the record as described in Section III.B.
26

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 1    directing the BLM to produce a privilege log. See Bartell Ranch LLC, 2021 U.S. Dist. LEXIS at

 2    *6-8 (ordering defendants to produce withheld deliberative materials, or alternatively identify

 3    withheld documents in a privilege log).

             B.      Defendants must supplement the administrative record.
 4
             Plaintiffs bring three distinct claims which require supplementation of the administrative
 5
      record because they do not challenge an agency decision that is properly limited to review of an
 6
      administrative record. These are Plaintiffs’ APA § 706(1) failure to act claim, the mandamus claim,
 7
      and the First Amendment violation claim.
 8
                     1.     Failure to Act Claim
 9
             Failure to act cases, by their nature, may present circumstances in which is it is particularly
10
      appropriate to go beyond the formal administrative record:
11                   [G]enerally judicial review of agency action is based on a
                     set administrative record. However, when a court considers a claim
12
                     that an agency has failed to act in violation of a legal obligation,
13                   “review is not limited to the record as it existed at any single point
                     in time, because there is no final agency action to demarcate the
14                   limits of the record.” Friends of the Clearwater v. Dombeck, 222
                     F.3d 552, 560 (9th Cir. 2000); see also Independence Min. Co., Inc.
15                   v. Babbitt, 105 F.3d 502, 511 (9th Cir. 1997) (noting that when a
                     suit challenges agency inaction, district court can consider
16                   supplemental statements of an agency position because there is no
                     date certain by which to define the administrative record). The
17                   reason for this rule is that when a court is asked to review agency
                     inaction before the agency has made a final decision, there is often
18                   no official statement of the agency's justification for its actions or
                     inactions.
19

20
      San Francisco BayKeeper v. Whitman, 297 F.3d 877, 886 (9th Cir. 2002). Using this same
21
      reasoning, this Court held that “[i]n determining whether to compel agency action under § 706(1),
22
      courts may look to evidence outside an agency’s administrative record because ‘there is no final
23
      agency action to demarcate the limits of the record.’” Bundorf v. Jewell, 142 F. Supp. 3d 1138,
24
      1144 (D. Nev. 2015) (quoting Friends of the Clearwater v. Dombeck, 222 F.3d 552, 560 (9th Cir.
25
      2000); see also Consejo de Desarrollo Economico de Mexicali v. United States, 438 F. Supp. 2d
26

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 1    1207, 1222 (D. Nev. 2006) (“Because the remaining claims are actions to compel agency action

 2    unlawfully withheld, the Court will not limit its review to the Administrative Record”). Further,

 3    this Court has permitted discovery related to the facts and circumstances surrounding the agency’s

      alleged failure to act. Sierra Club v. U.S. Dep't of Transp., 245 F. Supp. 2d 1109, 1119 (D. Nev.
 4
      2003) (reasoning that discovery should be allowed where the requested information is necessary
 5
      to fairly adjudicate an issue presented by the case).
 6
             Plaintiffs allege that Defendants failed to act in violation of the APA § 706(1) when they
 7
      unlawfully withheld or unreasonably delayed their mandatory duty to prepare an HMAP for the
 8
      Blue Wing Complex. Am. Compl. ¶¶ 135-42. Defendants have only included three documents in
 9
      the record which discuss BLM policies regarding HMAPs. The first is the BLM’s Wild Horses
10
      and Burros Management Handbook. AR00052-00131 (“Handbook”). The Handbook reaffirms the
11    language from 43 C.F.R. § 4710.4 stating that all management activities be “at the minimum
12    feasible level of management necessary to attain the objectives identified in approved land use
13    plans (LUPs) and Herd Management Area Plans (HMAP)” (AR00057) and notes that HMAPs are

14    prepared under 43 C.F.R. § 4710.3-1 (AR00062). See 43 C.F.R. § 4710.3-1 (“[t]he authorized

15    officer shall prepare a herd management area plan”). The Handbook otherwise only offers

16    guidance on how to prepare, analyze, and implement an HMAP. See AR00087-95. The second

17    document is the BLM Manual on Wild Free-Roaming Horses and Burros Management. AR00132-

      38 (“Manual”). The Manual, like the Handbook, reaffirms the HMAP language from 43 C.F.R. §
18
      4710.4 (AR00133; AR00137) and tasks district or field office managers with preparing HMAPs
19
      for all HMAs in their offices (AR00135). Finally, the third document discussing HMAPs is the
20
      BLM’s 2020 Report to Congress. AR03589-03621. In the report, the BLM relays its need to
21
      “develop and/or update HMAPs” and highlights the process of developing and updating HAMPs
22
      as an “opportunity to inform and involve the public in determining the best actions to take on an
23
      HMA into the future.” AR03610-11. These three documents are not enough to “fairly adjudicate”
24    whether Defendants failed to act in not preparing an HMAP for the Blue Wing Complex since they
25    are merely three guidance documents that provide no insight into the BLM’s pattern, practice,
26

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 1     policy statements, or justifications for its decision not to act. In the past, Plaintiffs have specifically

 2     requested that Defendants prepare an HMAP for the Blue Wing Complex and are aware of at least

 3     one BLM directive and several internal communications regarding the BLM’s duty to prepare an

       HMAP under the Wild Horse Act and agency regulations.
 4
               Plaintiffs respectfully request this Court to supplement the record for the failure to act claim
 5
       and to include all documents, directives, memoranda, and communications regarding Defendants’
 6
       decision not to prepare an HMAP for the Blue Wing Complex and all documents, directives,
 7
       memoranda, and communications regarding Defendants’ interpretations, practices, or policies
 8
       regarding the duty to prepare HMAPs. For example, the 2015/2016 directive regarding the
 9
       preparation of HMAPs in Nevada issued by former Nevada State Director Amy Lueders, which
10
       was then rescinded in 2017. Both the original directive and rescission memoranda are relevant to
11     Plaintiffs’ claim that 43 C.F.R. § 4710.4 requires the development of an HMAP and that
12     Defendants have therefore failed to act under APA § 706(1).
13                     2.      Writ of Mandamus Claim

14             Plaintiffs allege two entirely distinct and separate non-APA claims in this case—a writ of

15     mandamus and a violation of the First Amendment. Am. Compl. ¶¶ 126-134; 163-168. Courts may

16     consider extra-record evidence in support of the non-APA claims in a case. Kraayenbrink, 632

17     F.3d. at 497.

               In a mandamus action, “courts have found discovery to be appropriate where an agency
18
       either completely abrogated its enforcement responsibilities or acted clearly outside the bounds of
19
       relevant statutes.” Judicial Watch, Inc. v. Nat'l Energy Policy Dev. Grp., 233 F. Supp. 2d 16, 29
20
       (D.D.C. 2002) (citing Conservation Law Foundation of New England, Inc. v. Clark, 590 F. Supp.
21
       1467, 1473 (D. Mass. 1984)). Here, Plaintiffs allege that Defendants are in violation of the Wild
22
       Horse Act and 43 CFR 4710.4 by failing to prepare an HMAP for the Blue Wing Complex. It is
23
       therefore relevant and necessary for the record to contain materials shedding light on the agency’s
24     interpretation of the statute and regulation and past pattern, practice, and policies regarding them.
25     By way of example, there may be an agency position statement from 1986 when 43 CFR 4710.4
26

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 1     was promulgated that this Court may find compelling in determining if the BLM has a duty to

 2     prepare HMAPs. See 43 CFR 4710.4 (“Management shall be at the minimum level necessary to

 3     attain the objectives identified in approved land use plans and herd management area plans.”).

       However, this agency position statement would not be, and in fact is not, included in the current
 4
       record regarding the BLM’s decision to conduct the 2022 Gather.
 5
              In essence, the mandamus action is asking the Court to determine whether or not the BLM
 6
       has a duty to prepare an HMAP for the Blue Wing Complex and that duty and judicial review goes
 7
       beyond just the BLM’s recent decision to conduct the 2022 Gather without an HMAP. Therefore,
 8
       Plaintiffs respectfully ask this Court to supplement the record for the mandamus claim and to
 9
       include all documents, directives, memoranda, and communications regarding Defendants’
10
       interpretations, practices, or policies regarding the duty to prepare HMAPs.
11                    3.      First Amendment Claim
12            A direct constitutional challenge is reviewed independent of the APA. Porter v. Califano,
13     592 F.2d 770, 781 (5th Cir. 1979). As such, the court is entitled to look beyond the administrative

14     record in regard to this claim. Id. at 780; Rydeen v. Quigg, 748 F. Supp. 900, 906 (D.D.C. 1990);

15     see McNary v. Haitian Refugee Center, Inc., 498 U.S. 479, 493 (1991) (discussing a similar issue

16     under the IRCA). Therefore, discovery as to the non-APA claim is permissible. See Grill v. Quinn,

17     No. CIV S-10-0757 GEB GGH PS, 2012 U.S. Dist. LEXIS 6498, at *2, 5 (E.D. Cal. Jan. 20, 2012)

       (where plaintiff alleged “a claim for violation of procedural due process in addition to [an] APA
18
       claim,” the court could “look beyond the administrative record,” and permit limited discovery);
19
       see also Webster v. Doe, 486 U.S. 592, 604 (1988) (finding that a plaintiff who is entitled to judicial
20
       review of constitutional claims under the APA is entitled to discovery regarding those claims).
21
       When the factual allegations between the APA claims and the constitutional claims are different,
22
       the claims do not fundamentally overlap. California v. United States Dep't of Homeland Sec., No.
23
       19-cv-04975-PJH, 2020 U.S. Dist. LEXIS 57540, at *68-69 (N.D. Cal. Apr. 1, 2020). Further,
24     courts have allowed discovery when “the administrative record is limited to the [a]gency’s
25     rulemaking process and sheds no light on” the constitutional violations. Id. at *70.
26

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 1            Plaintiffs allege that Defendants violated their First Amendment rights by “refusing

 2     [Plaintiffs] access to the gather, holding, and shipment operations and only providing them access

 3     from far vantage points with known obstructed views.” Am. Compl. ¶ 165. Further, it is alleged

       that Plaintiffs were “denied the right to observe a single wild burro during or after the gather at the
 4
       Blue Wing Complex.” Id. at ¶ 166. It is therefore necessary that Plaintiffs be allowed to submit
 5
       witness testimony and any photographs, videos, and audio captured during the 2022 Gather that
 6
       describe and illustrate any public access that was granted or denied during the gather operations.
 7
       As fully described in the First Amended Complaint, First Amendment right of access claims
 8
       require that the court determine “(1) whether the place and process have historically been open to
 9
       the press and general public and (2) whether public access plays a significant role in the functioning
10
       of the particular process in question.” Id. at ¶¶ 62-67 (quoting Leigh v. Salazar, 677 F.3d 892, 898
11     (9th Cir. 2012)). If both are answered in the affirmative, a qualified right applies, and “the
12     government may only overcome that right by demonstrating an overriding interest based on
13     findings that closure is essential to preserve higher values and is narrowly tailored to serve that

14     interest.” Am. Compl. ¶ 65 (quoting Leigh v. Salazar, 954 F. Supp. 2d 1090, 1101 (D. Nev. 2013)).

15     Finally, the Court has “a duty to conduct a thorough and searching review of any attempt to restrict

16     public access.” Am. Compl. ¶ 66 (quoting Leigh, 677 F.3d at 900).

17            Plaintiffs are willing to forgo their right to a full trial—and instead to submit their

       arguments on summary judgment, but Plaintiffs will be wholly unable to show that their qualified
18
       right to access was violated by the government’s restrictions if they are not able to present any of
19
       their evidence from the 2022 Gather. It would be highly prejudicial to not allow Plaintiffs to enter
20
       evidence of their injuries resulting from the alleged constitutional violation. The administrative
21
       record currently only includes BLM’s own provisions of access and does not include anything that
22
       Plaintiffs submitted during the course of the gather. See, e.g., ECF Nos. 10-1, 10-2, Declarations
23
       of Laura Leigh and Laurie Ford in Support of Plaintiffs’ Motion for a Temporary Restraining
24     Order (declaring that a standing request to view the holding corrals every day was denied, that
25

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 1     Defendants intentionally obstructed views, and that they were unable to view the horses, burros,

 2     and BLM’s handling practices before they were shipped to a facility with no public access).

 3            Given the legal standard and burdens for a First Amendment qualified right of access claim,

       Plaintiffs request that the Court expand the record to include:
 4
              1. Communications evaluating, discussing, or otherwise regarding public access to
 5
                  observe the 2022 Gather and the horses in holding;
 6
              2. All reports, policies, protocols, press releases, and other documents and
 7
                  communications that describe historical public access to BLM gathers and holding
 8
                  facilities;
 9
              3. Any contracts or communications within the agency or with third parties regarding
10
                  facility placement of the horses and public access to gather and holding operations for
11                the 2022 Gather;
12            4. Photographs, videos, and audio that Plaintiffs and other members of the public
13                documented and submitted to the BLM regarding their access to the 2022 Gather; and

14            5. Witness testimony, the form of Plaintiffs’ supplemental declarations, describing

15                public access to observe the 2022 Gather and the horses in holding, as well as

16                historical public access to BLM gathers and holding facilities.

17     IV.    Conclusion

              For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’
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       motion to complete and supplement the administrative record.
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 1     DATED: March 16, 2023,            Respectfully Submitted,

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